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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,             §
                                                §
               Plaintiffs,                      §
                                                §
                                                              Case No. 5:21-cv-00844-XR
V.                                              §
                                                                     [Lead Case]
                                                §
GREG ABBOTT, et al.,                            §
                                                §
               Defendants.                      §


                                            ORDER

      Before the Court is the parties’ Joint Motion to Extend. After careful consideration, the Court

GRANTS the motion.

      The parties SHALL FILE a proposed scheduling order by no later than June 6, 2022.

      It is so ORDERED.

      SIGNED this 1st day of June, 2022.

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                                                     XAVIER RODRIGUEZ
                                                     UNITED STATES DISTRICT JUDGE




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